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...


                     IN THE UNITED STATES DISTRICT COCRT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


      PLAINTIFF UNDER SEAL,
                                              Civil Action No. 15-5148
                    v.
                                              FILED UNDER SEAL
      DEFENDANT UNDER SEAL.




                            The United States' Notice of
                          Election to Decline Intervention



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.
                      IN THI<: UI',;ITED STATES DISTRICT COCRT
                   FOR THE EASTERI',; DISTRICT OF PEN~SYLVANIA

     UNITED STATES OF AMERICA,
     ex rel. JOSEPH JOH~ URBA...">:,
                   Plaintiff-Relator,

                   V.                                Civil Action No. 15-5148

     McKESSON CORP.,                                 FILED UNDER SEAL
                Defendant.


                              THE UNITED STATES' NOTICE OF
                            ELECTION TO DECLINE INTERVENTION

          Under the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States of

    America notifies the Court of its decision not to intervene in this action.

          Although the United States declines to intervene, the Government

    respectfully refers the Court to 31 l.J.S.C. § 3730(b)(l), which allows the relator to

    maintain the action in the name of the Cnited States; providing, however, that the

    "action may be dismissed only if the court and the Attorney General give written

    consent to the dismissal and their reasons for consenting." Id. Therefore, the

    United States requests that, should either the relator or the defendants propose

    that this action be dismissed, settled, or otherwise discontinued, this Court solicit

    the written consent of the United States before ruling or granting its approval.

           Furthermore, under 31 U.S.C. § 3730(c)(3), the United States requests that

    all pleadings filed in this action be served upon the United States; the United States

    also requests that orders issued by the Court be sent to the Government's counsel.

    The United States reserves its right to order any deposition transcripts, to intervene




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in this action, for good cause, at a later date, and to seek the dismissal of the

relator's action or claim. The Cnited States also requests that it be served with all

notices of appeal.

       Finally, the Government requests that the relator's complaint, this Notice,

and the attached proposed Order be unsealed. The lJnited States requests that all

other papers on file in this action remain under seal because in discussing the

content and extent of the Cnited States' investigation, such papers are provided by

law to the Court alone for the sole purpose of evaluating whether the seal and time

for making an election to intervene should be extended.

      A proposed order accompanies this notice.

 Dated: November ~018                  Respectfully submitted,

                                       WILLIA..1\11 M. McSWAIN




                                                               s Attorney




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                           CERTIFICATE OF SERVICE

      It is hereby certified that on this date a copy of the foregoing Notice of

Declination was sent by First Class United States Mail, postage prepaid, to the

following:

                               David C. Kane, Esquire
                              KANE   & ASSOCIATES, LLC
                        1500 John F. Kennedy Blvd., Suite 820
                               Philadelphia, PA 19102




                                        As istant United States Attorney



Dated: November 15, 2018




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